Case 9:17-cv-80341-BB Document 81 Entered on FLSD Docket 06/05/2018 Page 1 of 2
               Case: 18-10560 Date Filed: 06/05/2018 Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                                                                                                          AP
                             FOR THE ELEVENTH CIRCUIT
                                                                                    Jun 5, 2018
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303
                                                                                               MIAMI

 David J. Smith                                                                    For rules and forms visit
 Clerk of Court                                                                    www.ca11.uscourts.gov


                                          June 05, 2018

 Steven M. Larimore
 U.S. District Court
 400 N MIAMI AVE
 MIAMI, FL 33128-1810

 Appeal Number: 18-10560-HH
 Case Style: Sergio Maximiliano v. Simm Associates, Inc.
 District Court Docket No: 9:17-cv-80341-BB

 The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
 issued as the mandate of this court. See 11th Cir. R. 42-1(a).

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Christopher Bergquist, HH/lt
 Phone #: 404-335-6169

 Enclosure(s)




                                                           DIS-3 Letter and Entry of Dismissal Vol
Case 9:17-cv-80341-BB Document 81 Entered on FLSD Docket 06/05/2018 Page 2 of 2
               Case: 18-10560 Date Filed: 06/05/2018 Page: 2 of 2


                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                       ______________

                                       No. 18-10560-HH
                                       ______________

 SERGIO MAXIMILIANO,

                                                 Plaintiff - Appellant,

 versus

 SIMM ASSOCIATES, INC.,

                                            Defendant - Appellee.
                      __________________________________________


                         Appeal from the United States District Court
                             for the Southern District of Florida
                      __________________________________________

 ENTRY OF DISMISSAL: Pursuant to Appellant Sergio Maximiliano's motion for voluntary
 dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered
 dismissed on this date, effective June 05, 2018.

                                       DAVID J. SMITH
                            Clerk of Court of the United States Court
                               of Appeals for the Eleventh Circuit

                         by: Christopher Bergquist, HH, Deputy Clerk

                                                          FOR THE COURT - BY DIRECTION
